 Case: 1:06-cr-00134-CDP     Doc. #: 377 Filed: 04/23/08      Page: 1 of 2 PageID #:
                                       1669



                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                         SOUTHEASTERN DIVISION

UNITED STATES OF AMERICA,              )
                                       )
      Plaintiff,                       )
                                       )
v.                                     ) No. 1:06CR134 CDP
                                       )
LAWAN JAMES,                           )
DENNIS DINWIDDIE, and                  )
MICHAEL MEADOR,                        )
                                       )
      Defendants.                      )

                        MEMORANDUM AND ORDER

      This matter is before the Court on defendants’ motions to sever and for

separate trials. The government agrees that severance is appropriate. I previously

ruled that the trial of defendant Raul Cruz, Jr. would be severed. All pretrial

motions were referred to United States Magistrate Judge David D. Noce under 28

U.S.C. § 636(b). Judge Noce has recommended that the motions be granted, and

no party has filed objections. Accordingly,

      IT IS HEREBY ORDERED that the Reports and Recommendations of the

United States Magistrate Judge regarding severance [## 266, 295, 297] are

SUSTAINED, ADOPTED, and INCORPORATED herein.

      IT IS FURTHER ORDERED that defendants’ motions for severance [##

229, 230, 226] are granted, and each defendant in this case will be tried separately.
 Case: 1:06-cr-00134-CDP       Doc. #: 377 Filed: 04/23/08       Page: 2 of 2 PageID #:
                                         1670



      IT IS FURTHER ORDERED that I will hold a scheduling conference

with counsel for these three defendants and counsel for the government on

Thursday, May 1, 2008 at 2:00 p.m. in Courtroom 14 South in the St. Louis

Courthouse. I realize that setting firm trial dates may not yet be possible, but I

hope to set tentative dates at the conference. To this end counsel should meet and

confer with one another in advance of the conference and should be prepared to

discuss potential trial dates, length of trials expected, the order for these trials, and

any other matters relevant to scheduling these trials.

      As the conference will be limited to scheduling issues, defendants need not

be present. Counsel for co-defendant Raul Cruz need not be present, as his trial

will be set after the others have been concluded.




                                         _______________________________
                                         CATHERINE D. PERRY
                                         UNITED STATES DISTRICT JUDGE

Dated this 23rd day of April, 2008.




                                          -2-
